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                 Exhibit 17
  Declaration of Ronald Waterman
           (Nov. 21, 2023)
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Attorneys for Plaintiffs

  UNITED STATES DISTRICT COURT, DISTRICT OF MONTANA
                    BUTTE DIVISION

THE IMPERIAL SOVEREIGN COURT
OF THE STATE OF MONTANA; ADRIA
JAWORT; RACHEL CORCORAN; THE
MONTANA BOOK COMPANY; IMAGINE
BREWING COMPANY, LLC d/b/a                        Cause No. CV 23-50-BU-
IMAGINE NATION BREWING                                    BMM
COMPANY; BUMBLEBEE AERIAL
FITNESS; MONTANA PRIDE; THE
WESTERN MONTANA COMMUNITY                             Declaration of
CENTER; THE GREAT FALLS LGBTQ+                     Ronald F. Waterman,
CENTER; THE ROXY THEATER; and                     Lewis & Clark Library
THE MYRNA LOY,                                   Board of Trustees Member

                           Plaintiffs,
             vs.

 AUSTIN KNUDSEN; ELSIE ARNTZEN;
 J.P. GALLAGHER; and the CITY OF
 HELENA,

                           Defendants.

I, Ronald F. Waterman, declare as follows:
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1.   I am over the age of eighteen years, am competent to testify as to

     the matters set forth herein, and I make this declaration based

     upon my personal knowledge and belief.

2.   I am a resident of Helena, Montana.

3.   I practiced law for 50 years before retiring in 2019.

4.   I am a member of the Board of Trustees of Lewis & Clark Library

     and served as Board Chair from August 16, 2022, until August 15,

     2023.

5.   The Library serves all of Lewis and Clark County, Montana. It has

     branches in Helena, Augusta, East Helena and Lincoln, as well as

     a bookmobile which provides services throughout the county,

     throughout the year. Residents of the County use library services

     at no cost to them.

6.   As the Chair of the Board, I presided over the monthly meetings of

     the Board, during which we regularly received reports from the

     staff about activities within the Library and issues and concerns

     with Library programs. This is a part of the function of the Library

     Board, to monitor those activities and to understand the challenges

     to the staff as those activities impact the annual budget for the


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      Library. As a member of the Board, I continue to receive and read

      those reports.

7.    Lewis & Clark Library derives 100% of its revenue from either state

      or county funds.

8.    Library Board Trustees meet with the Library Director and staff

      regularly and understand how hard library staff works planning

      and presenting effective and meaningful programs for library

      patrons of all ages and backgrounds.

9.    The Library offers children’s programs and story times at all

      branches.

10.   Lewis & Clark Library has never planned to present any “Drag

      Story time.” However, House Bill 359 has still had a chilling effect

      on current programming. Staff members have discussed with the

      Board their questions about whether anticipated programming,

      including children’s story time, might be construed as a violation of

      HB 359.

11.   The language in the statute uses broad and vague terms. As a

      result, it does not inform Library staff of what program activities




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      constitute a violation of the terms of the statute. Library staff has

      expressed difficulty in navigating this ambiguity.

12.   One recent example is the annual outdoor film festival hosted by

      the Library Director, “The Director’s Cut.”      Films for the 2023

      festival were selected in the spring of 2023, before HB 359 was

      signed.

13.   The first film chosen was the classic Billy Wilder film Some Like It

      Hot, which was scheduled to be screened on August 3, 2023.

14.   Considered one of the best comedies ever made, Some Like It Hot

      features two male musicians on the run from the mob.               They

      disguise themselves as female musicians and join an all-women jazz

      band.

15.   It is unclear whether the screening of this film would be prohibited

      under HB 359, especially if shown to minors and if shown on public

      property, as anticipated.

16.   Prior to HB 359 being enjoined, the Library Director planned to

      cancel this screening, even though the license to show the film was

      purchased, a projection company was hired, and park permits were

      paid for.


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17.   The fear of being sued, both institutionally and personally,

      prompted the planned cancellation.

18.   Penalties, including fines, are allowable up to ten years after the

      program is provided, even if there was parental consent at the time.

      This is frightening and creates a career-spanning anxiety for

      Library staff.

19.   It was only after HB 359 was enjoined that the Library Board of

      Trustees and Library Director decided to proceed with the film

      screening as planned.

20.   As a member of the Library Board of Trustees, after reading the

      language of HB 359, I cannot effectively advise the Director and

      Library staff as to how to continue to plan and present programs to

      our patrons, especially children, as they have done for decades.

I declare under penalty of perjury that the foregoing is true and correct.

DATED this _____
            21
                 day of November, 2023, in Helena, Montana.



                                         ID 2ddhLDnkqWaYGTyTaSeRsfrs


                                        Ronald F. Waterman




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eSignature Details

Signer ID:        2ddhLDnkqWaYGTyTaSeRsfrs
Signed by:        Ronald F. Waterman
Sent to email:    ronwaterman530@gmail.com
IP Address:       63.153.67.119
Signed at:        Nov 21 2023, 8:32 am MST
